                                      .,"*O                N}
                                    'E LNFiled <>9904/06/20
CASE 0:18-cr-00120-NEB-KMM Document 273-1           F\
                                                    co      Page 1 of 1
                                            $i
                                            FC
                                                           1{?


                                                           =J
                                                           Nrq
                                                                 (\l


                                            t@                   o

                                                 ffi
                                              ."m


                     tr
                     :l
                                            ?$ffi
       LJ()
       n.!
           ^J
                U
       L!._!    Rg   t- 7
          R
       5= (o
       ;b<
       8t!>  == ;{
                 -
       ;\>   o
       \r'/m M =d- o:
       il:   x- ':J) u:
      tl
                     V
                                       J     lr
                     E
                     [l
                     J
                                       :ecd
                                       ;f H: r{ *r
                     (J                ffnfr*
                                       n*sE
                                                                                          ;'.
                                                                                2il Yz                       $
                                                                                                             sf
                                                                               )L7-a!                        fL
                                                                                U                            |J
                                                                               -c,irj.=                      rli
                                                                                                             *'I
                                                                                                             rt




                                                            Z
                                                                                                             IT
                                                                                                             rJl
                                                                                                             rJi




                                        IH
                                        E



                                                             o
                                                             o
                                                             !t
                                        *EliHe               z
                                                             o         '::.5
                                                                        ),y\
                                                             E
                                                             J                 s\ -\
                                                                                d
                                        EHtfiEE              0
                                                             lL
                                                             IL


                                        #f;bIni              o


                                        ffo
                                        Ff
                                        2o
                                        f
                                                       =




                                                                                        AFR 0   6 A020Nh
                                                                                 ti.s, prsTFtcT coufir   s1-. pAUr
